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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



CAMPAIGN LEGAL CENTER,


                      Plaintiff,

v.                                                    Civil Action No. 18-1771 (TSC)

UNITED STATES DEPARTMENT OF
JUSTICE,


                      Defendant.



                            DECLARATION OF NADAV ARIEL

I, Nadav Ariel, do hereby declare the following to be true and correct:

       1. I am an attorney licensed in the District of Columbia and represent Plaintiff Campaign

Legal Center (“CLC”) in the above captioned case. I make this Declaration in support of

Plaintiff’s Reply Brief in Support of its Cross-Motion for Summary Judgment and Opposition to

Defendant’s Motion for Summary Judgment. The facts stated herein are based on my personal

knowledge and my review of relevant documents.

       2. Attached as Exhibit A is a true and correct copy of documents produced to CLC by the

Department of Justice in case No. 18-1187 before this Court on May 21, 2018 (Doc. # 19-2).

       3. Attached as Exhibit B is a true and correct copy of a motion and selected

accompanying exhibits filed by the state of New York in New York v. U.S. Dep’t of Commerce,

18-cv-2921 (filed May 30, 2019) (Doc. # 595).

       4. I declare under penalty of perjury that the foregoing is true and correct.
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Executed on June 12, 2019




                                                     _/s/ Nadav Ariel
                                                      Nadav Ariel




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